         Case 1:20-cv-01142-JMF Document 47 Filed 04/27/20 Page 1 of 4




April 27, 2020

The Honorable Jesse M. Furman
Thurgood Marshall U.S. Courthouse
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:       Plaintiffs’ supplemental letter regarding production of a privilege log in State of
                 New York v. Wolf, et al., 20-CV-1127 (JMF), and Lewis-McCoy v. Wolf, et al., 20-
                 CV-1142 (JMF).

Dear Judge Furman,

      As directed by the Court (Docket No. 33), Plaintiffs submit this joint letter addressing
whether a privilege log should be required in light of their preliminary review of the
Administrative Record.

        The Second Circuit’s “logic [in In re Nielsen] suggests that district courts should grant
motions to compel production of a privilege log in APA actions as a matter of course.” New
York v. U.S. Immigration & Customs Enf’t, 19-cv-8876 (JSR), 2020 WL 604492, at *3 (S.D.N.Y.
Feb. 9, 2020); see In re Nielsen, No. 17-3345, slip op. at 3 (2d Cir. Dec. 27, 2017) (Docket No.
24-1). No factual inquiry is therefore necessary for the Court to conclude that a privilege log is
warranted.

         The Court need not decide whether any inquiry is required here, however, as Plaintiffs’
initial review 1 of the Administrative Record produced in this action confirms the need for a
privilege log identifying the basis of, and justification for, the agency’s determination to
withhold obviously relevant material from judicial scrutiny.

        1. First, Defendants have filed an Administrative Record so cursory as to suggest the
wholesale exclusion of pertinent materials. The Second Circuit noted in In re Nielsen that “[i]t is
difficult to imagine a decision as important as whether to repeal DACA would be based upon a
factual record of little more than 56 pages . . . .” Slip op. at 3. The same observation may be
made here: Defendants are asking the Court to conclude that the decision to exclude every
resident of the country’s fourth-largest state from a program mandated by the Intelligence
Reform and Terrorism Prevention Act was made on a 64-page record. (Docket No. 37-1.) This
circumstance alone justifies compelling Defendants to identify all records DHS considered in
reaching its decision, and to explain the basis for excluding them from the Administrative
Record presented to the Court.

       2. In addition, the Administrative Record is extensively redacted with no stated basis of

1
  Plaintiffs do not yet take any position on whether completion of the Administrative Record or
extra-record discovery will be necessary, and will meet and confer with defense counsel before
reaching any conclusion or seeking relief from the Court on those matters. See April 1, 2020
Order at 2 (Docket No. 22).


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          Case 1:20-cv-01142-JMF Document 47 Filed 04/27/20 Page 2 of 4




privilege to justify those redactions. Of the 64 pages that Defendants have certified constitute
“the non-privileged documents considered by DHS,” (Docket No. 37), more than half—33
pages—are redacted in whole or in part. (Docket No. 37-1.) These extensive withholdings also
merit an explanation from the agency: the Supreme Court only recently reiterated the “settled
proposition[]” that “in order to permit meaningful judicial review, an agency must ‘disclose the
basis’ of its action.” Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2573 (2019) (quoting
Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 167-69 (1962)); see also SEC v.
Chenery Corp., 318 U.S. 80, 94 (1943) (“[T]he orderly functioning of the process of review
requires that the grounds upon which the administrative agency acted be clearly disclosed and
adequately sustained.”). DHS’s extensive and unexplained exclusions from the documents it
admittedly considered in reaching its decision fail this basic obligation.

        Even by Defendants’ standard for determining when a privilege log should be ordered,
the record now warrants explanation. Defs.’ Letter at 3 (Docket No. 23) (asking the Court to
refrain from ordering a privilege log until review of the Administrative Record permits the Court
to “determine whether . . . it can assess Defendants’ action on the record before it”). Among
other considerations, it is hard to see how the Court can determine whether DHS made a decision
that “runs counter to the evidence” before it, or failed to offer a “rational connection between the
facts found and the choice made,” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co.,
463 U.S. 29, 42-43 (1983); without at least an explanation from the agency of the basis for
shielding that evidence and those facts from the Court’s scrutiny. E.g., DHSGLL006-008
(redacting selected impacts of “[t]he inability of CBP to validate against NY state databases”);
DHSGLL032 (redacting information regarding “Other States and Territories Restricting DMV
Information Access to DHS”); DHSGLL048-061 (redacting information from the TTP
Handbook that appears to describe eligibility determinations, relevance of records, and criminal
history evaluations).

        Plaintiffs’ arbitrary-and-capricious claim may also present the question whether the
agency’s stated basis for its decision is invalid because “it rested on a pretextual basis.” Dep’t of
Commerce, 139 S. Ct. at 2573. The Administrative Record now reveals that to accomplish its
preferred policy goals, the agency considered “[e]xcluding residents of uncooperative states from
participating in DHS Trusted Traveler Programs.” DHSGLL040. The APA prohibits
“contrived” explanations for agency decisions. Dep’t of Commerce, 139 S. Ct. at 2575 (“We are
presented, in other words, with an explanation for agency action that is incongruent with what
the record reveals about the agency’s priorities and decisionmaking process.”). If DHS’s basis
for imposing the Trusted Traveler Ban is not operational necessity, as claimed (Docket No. 1-1,
at 2-3), but instead is an effort to punish New York’s residents because the legislature enacted a
statute DHS does not like, the Ban would likely fail arbitrary-and-capricious review. Yet
Defendants are withholding from the Court and Plaintiffs the very evidentiary record that would
permit examination of that question. See, e.g., DHSGLL040.

        The Court may therefore conclude that the inability to assess the challenged agency
action on the record before the Court suffices to warrant production of a privilege log. Defs.’
Letter at 3 (Docket No. 23); see Tafas v. Dudas, 530 F. Supp. 2d 786, 800 (E.D. Va. 2008)
(“Once a court has determined that a plaintiff has provided enough evidence for the court to
conclude that the agency has omitted otherwise relevant material from the administrative record,
the agency must explain its decision to do so.”).


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          Case 1:20-cv-01142-JMF Document 47 Filed 04/27/20 Page 3 of 4




        3. Finally, to the extent any threshold showing of bad faith is required to justify a
privilege log, 2 that showing can be met here. As noted in Plaintiffs’ initial letter (Docket No. 24,
at 5)—and as has now been confirmed by the redacted Administrative Record (Docket No. 37-
1)—the DHS official in charge of the agency’s Office of Strategy, Policy, and Plans proposed in
a memo to the Acting Secretary that one “[o]ption for addressing laws that restrict access to state
DMV information” was to “[e]xclude residents of uncooperative states from participating in
DHS Trusted Traveler Programs.” DHSGLL031, 039-040. Intentionally targeting a state’s
population to compel changes in that state’s laws would meet any definition of bad faith.

        The Administrative Record bears other hallmarks of potentially improper
decisionmaking. As produced in redacted form, the Administrative Record shows that on the
morning of February 4, 2020—the day of the President’s State of the Union, and one day before
the Trusted Traveler Ban was announced, see New York Compl. ¶¶ 8-10, 56-57—the DHS
Deputy General Counsel asked for a phone call with CBP officials “to discuss the impact of the
New York DMV law on the Global Entry process from the operational perspective.”
DHSGLL063. This email exchange refers to other emails nowhere included in the record.
DHSGLL062. The timing and substance of this request, coming one day before the Trusted
Traveler Ban was announced, at minimum suggest a search for explanations to justify a decision
that had already been made. Tummino v. Von Eschenbach, 427 F. Supp. 2d 212, 233 (E.D.N.Y.
2006) (“[A] plausible interpretation . . . is that senior management . . . had long since decided”
how to proceed, “but needed to find acceptable rationales for the decision”).

        And the urgency of the request (“I am assuming that he will want to schedule the call as
soon as possible,” DHSGLL063), on the same day the President previewed the Trusted Traveler
Ban in the State of the Union, provide further evidence of potential bad faith. Tummino v. Torti,
603 F. Supp. 2d 519, 544-45 (E.D.N.Y. 2009) (“the mere existence of ‘extraneous pressure’ from
the White House or other political quarters would render [the agency’s] decision invalid” under
the APA) (quoting D.C. Fed’n of Civic Ass’ns v. Volpe, 459 F.2d 1231, 1248-49 (D.C. Cir.
1971)); Sokaogon Chippewa Cmty. v. Babbitt, 961 F. Supp. 1276, 1280 (W.D. Wis. 1997) (“If
there are adequate grounds to suspect that an agency decision was tainted by improper political
pressure, courts have a responsibility to bring out the truth of the matter.”).

       Defendants should produce a privilege log identifying materials withheld from the
Administrative Record so the Court and Plaintiffs can adequately test the basis for the agency’s
decision.

                                       Respectfully submitted,

                                       LETITIA JAMES
                                       Attorney General of the State of New York


2
 There is no requirement that Plaintiffs make any showing—much less a “strong showing”—of
bad faith to warrant production of a privilege log at this stage, see Pls.’ Letter at 4-5 (Docket No.
24); and the Second Circuit has not applied such a standard. In re Nielsen, slip op. at 3-4; see
also New York, 2020 WL 604492, at *3 (ordering privilege log even though “there is no
suggestion . . . [of] bad faith”).


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Case 1:20-cv-01142-JMF Document 47 Filed 04/27/20 Page 4 of 4




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